                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

 UNITED STATES OF AMERICA,                         )
                                                   )
                       Plaintiff,                  )
                                                   )
 v.                                                )             No: 3:07-CR-42
                                                   )             (PHILLIPS/GUYTON)
 EDDIE DENTON,                                     )
                                                   )
                       Defendant.                  )


                                MEMORANDUM AND ORDER

        All pre-trial motions in this case have been referred to the undersigned pursuant to 28 U.S.C.

 § 636(b) and by the Order [Doc. 76] of the Honorable Thomas W. Phillips, United States District

 Court Judge, for disposition or report and recommendation regarding disposition by the District

 Court as may be appropriate. Defendant Denton has motions pending before this Court, including

 his Motion to Withdraw all Previous Motions [Doc. 96], filed on July 27, 2007.

        Defendant moves to withdraw all of his previous motions filed with this Court. [Doc. 96].

 The Court finds Defendant’s Motion for Miscellaneous Relief [Doc. 96] to be well-taken, and it is

 GRANTED. Accordingly, the following motions are DENIED as moot:

               •       Defendant Eddie Denton’s Motion for Hearing to Determine
                       Conspiracy [Doc. 46]1;

               •       Defendant Eddie Denton’s Motion for Bill of Particulars
                       [Doc. 67];

               •       Defendant Eddie Denton’s Motion to Suppress [Doc. 69];


        1
         The Court allowed Defendant Denton to join Co-Defendant Todd Douglas’s Motion for
 Hearing to Determine Conspiracy [Doc. 46]. [See Doc. 78]. Though this motion will be denied
 as moot as to Defendant Denton, it will remain pending as to Co-Defendant Walter Holt, who
 was also permitted to join in Defendant Douglas’s Motion for Hearing to Determine Conspiracy.


Case 3:07-cr-00042-PLR-HBG           Document 102         Filed 07/31/07      Page 1 of 2      PageID
                                            #: 32
            •     Defendant Eddie Denton’s Motion for Pretrial Notice of
                  Government’s Intent to Use Evidence [Doc. 70];

            •     Defendant Eddie Denton’s Motion for Pretrial Notice of
                  Government’s Intent to Use 404(b)-Type Evidence [Doc. 71];
                  and

            •     Defendant Eddie Denton’s Motion in Limine to Prohibit the
                  Introduction of Evidence of the Defendant’s Prior
                  Convictions [Doc. 72].

       IT IS SO ORDERED.


                                              ENTER:


                                                   s/ H. Bruce Guyton
                                              United States Magistrate Judge




                                          2


Case 3:07-cr-00042-PLR-HBG    Document 102         Filed 07/31/07     Page 2 of 2   PageID
                                     #: 33
